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20 Feb. 2017
Bankruptcy Trustee: Debtor’s Counsel: Debtor:
Kari Bowyer John Fiero |V|ark Kerstens
PO Box 700096 Pachu|ski, Stang, Zieh|, & .|ones Beamreach So|ar, |nc.
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Judge:
Judge Elaine Hammond
US Bankruptcy Court - ND CA
US Federal Building
280 S 15t St. #268
San Jose, CA 95113-3004
Re: Beamreach So|ar lnc. (the “Company” or the ”Debtor”) Bankruptcy

ND Ca|ifornia court docket no.: 17-50307 l\/|EH
Dear AI|:

| am a member of the bridge note investor class. lam concerned that the Debtor has done
nothing to protect our credit and that the l\/leeting of the Creditors, currently scheduled for 21 |\/larch
2017, will be too late and such delay will adversely affect the ability of the bridge note investors to
recover monies. Therefore, please consider accelerating the |\/|eeting.

A. Patent Applications and lssued Patents Corpus

l am a registered patent attorney practicing patent law in Chicago. l am intimately familiar with the
patent law process. | am concerned because the Debtor does not own any material physical assets, and
the only major asset of the estate is its intellectual Property, which it has identified in its dissolution
papers (it identified 100's of |P rights). These papers list the |P assets to include issued patents and
pending patent applications, The patent application process is iterative in that there is lots of back-and-
forth with the Patent Office and with the Company. For pending patent applications, the Company is
obligated to do certain filings by certain statutory deadlines. Otherwise, valuable patent rights may be
lost, both domestic and abroad. Because of these statutory deadlines, one cannotjust sit on pending
patent applications and let them lapse. However, because of the dissolution, it is unclear who if anyone
is attending to any pending patent applicationsl

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V\/e, the bridge note investors, funded the Debtor based on our subordinated security that is
contingent on maximizing the value of the lP assets, which is compromised by any delay or lapses in the
patent application process. Thus a buyer of any lP may pay less if valuable iP is lost due to the delays.

B. Saie of Company and Assets

i understand also that prior to filing for bankruptcy, the Company engaged imperial Capital to sell
the company and/or its assets. To this end, l have not seen any motions by the Company requesting the
continued engagement of imperial. i am concerned that the secured creditor may to sell the lP for only
so much consideration as allows it to recover its loans, while it has no incentive to try to achieve a
superior outcome. i am also concerned that by the time the creditors meeting is convened (under the
current schedule), there will be little for us to do to correct this situation.

l would like to see a creditors committee formed as quickly as possible and for such committee to
engage its own advisers to supervise the process and ensure its fairness.

For the reasons mentioned above, the 5 week delay in the meeting causes valuable time, rights, and
hence erodes the value of the estate.

imperial should be instructed as soon as possible to continue its engagement promptly so that the
bridge note class can maximize its recovery.

Regards,

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Shashank Upadhye

 

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